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                           UNITED STATES DISTRICT COURT
                                                                                             JS6
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES -REOPENING/CLOSING

Case No. 2:17-cv-04393-RGK-KSx                                    Date May 18, 2022

Title: United States of America et al v. Vandewater International Inc. et al.

Present: The Honorable R. GARY KLAUSNER, U.S. District Judge




                Joseph Remigio                                         Not Reported
                Deputy Clerk                                     Court Reporter / Recorder


Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
Not Present                                        Not Present




Proceedings:    G In Court          ✘ In Chambers
                                    G                   G Counsel Notified

G Case previously closed in error. Make JS-5.

✘ Case should have been closed on entry dated May 13, 2022*
G                                                                        .

G Case settled but may be reopened if settlement is not consummated within                       days.
  Make JS-6.

✘ Other *See Order at docket entry 466.
G

G Entered                                  .




                                                                  Initials of Preparer       jre/k




CV-74 (10/08)                       CIVIL MINUTES -REOPENING/CLOSING
